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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

             In re:                                                  Chapter 11

             Desolation Holdings LLC, et al.,1                       Case No. 23-10597 (BLS)
                      Debtors.                                       (Jointly Administered)

                                                                     Docket Ref. No. 188


             ORDER GRANTING DEBTORS’ MOTION FOR ENTRY OF AN ORDER GRANTING
             LEAVE AND PERMISSION TO FILE REPLY IN SUPPORT OF MOTION PURSUANT
              TO SECTIONS 105(A) AND 502(C) OF THE BANKRUPTCY CODE TO ESTIMATE
                CONTINGENT AND UNLIQUIDATED CLAIMS OF THE SECURITIES AND
                     EXCHANGE COMMISSION AND GRANT RELATED RELIEF

                      Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

         debtors in possession (the “Debtors”) for the entry of an order granting the Debtors leave and

         permission to file the Reply; and this Court having jurisdiction to consider the Motion and the

         relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order

         of Reference from the United States District Court for the District of Delaware, dated February 29,

         2012; and consideration of the Motion and the requested relief being a core proceeding pursuant

         to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408

         and 1409; and due and proper notice of the Motion having been given under the circumstances,

         and it appearing that no other or further notice need be provided; and this Court having determined

         that the legal and factual bases set forth in the Motion establish just cause for the relief granted

         herein; and after due deliberation and sufficient cause appearing therefor,

                      IT IS HEREBY ORDERED THAT:



         1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax identification
         number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta Holdings Ltd. (2227); and Bittrex
         Malta Ltd. (1764). The mailing and service address of the Debtors is 701 5th Avenue, Suite 4200, Seattle, WA
         98104.
         2
           Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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                      1.   The Motion is GRANTED as set forth herein.

                      2.   Pursuant to Local Rule 9006-1(d), the Debtors are granted leave and permission

             to file the Reply, and the Reply is deemed timely filed as a matter of record in these chapter 11

             cases.

                      3.   This Court shall retain jurisdiction over any and all matters arising from or related

             to the interpretation or implementation of this Order.




         Dated: July 11th, 2023                          BRENDAN L. SHANNON
         Wilmington, Delaware                            UNITED STATES BANKRUPTCY JUDGE




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